Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 1 of 6 PageID 368
Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 2 of 6 PageID 369
Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 3 of 6 PageID 370
Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 4 of 6 PageID 371
Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 5 of 6 PageID 372
Case 2:14-cr-00063-SPC-D_F Document 102 Filed 03/24/15 Page 6 of 6 PageID 373
